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1    HEATHER E. WILLIAMS, SBN #122664
     Federal Defender
2    JEROME PRICE, SBN #282400
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700
     Fax 916-498-5710
5    Attorneys for Defendant
     ASHLEY STARLING THOMAS
6
7                               IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                       )   Case No. 1:14-cr-228 LJO-SKO
10                                                   )
                   Plaintiff,                        )   STIPULATION AND ORDER TO
11                                                   )   CONTINUE STATUS CONFERENCE AND
           vs.                                       )   TO EXCLUDE TIME
12                                                   )
     ASHLEY STARLING THOMAS,                         )   Date: June 25, 2018
13                                                   )   Time: 8:30 a.m.
                   Defendant.                        )   Judge: Hon. Lawrence J. O’Neill
14                                                   )
                                                     )
15
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
16
     Attorney, through Assistant United States Attorney Grant Rabenn, attorney for Plaintiff, and
17
     Heather Williams, Federal Defender, through Assistant Federal Defender Jerome Price, attorneys
18
     for Ashley Thomas, that the status conference scheduled for June 25, 2018, be vacated and
19
     continued to July 30, 2018 at 8:30 a.m.
20
            This case is set for a status conference following a remand from the Ninth Circuit for a
21
     possible retrial on the remaining counts of the Superseding Indictment. (ECF No. 244). The
22
     government is still determining whether or not to move forward with prosecution. The
23
     government’s decision whether to proceed with the prosecution would affect when a reasonable
24
     trial date is set. If the government decides not to proceed with prosecution, there would be no
25
     need to set a trial date. Therefore, the parties require further time to discuss how to resolve the
26
     matter prior to setting a trial date. The parties are confident that a final decision would be made
27
     by the date of the next status conference.
28

      Stipulation and [PROPOSED] Order to Continue        -1-
      Status Conference
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1           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
2    excluded through and including July 30, 2018, pursuant to 18 U.S.C. §3161(h)(7)(A) and
3    (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4.
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5
     DATED: June 20, 2018                            Respectfully submitted,
6
7
                                                     HEATHER E. WILLIAMS
8                                                    Federal Defender

9                                                    /s/ Jerome Price
                                                     JEROME PRICE
10
                                                     Assistant Federal Defender
11                                                   Attorneys for ASHLEY STARLING THOMAS

12   DATED: June 20, 2018                            MCGREGOR W. SCOTT
                                                     United States Attorney
13
                                                     /s/ Grant Rabenn
14
                                                     GRANT RABENN
15                                                   Assistant United States Attorney
                                                     Attorneys for Plaintiff
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      Stipulation and [PROPOSED] Order to Continue     -2-
      Status Conference
     Case 1:14-cr-00228-LJO-SKO Document 439 Filed 06/20/18 Page 3 of 3


1                                                    ORDER
2           The Court having received and reviewed the parties’ stipulation and good cause
3    appearing, hereby adopts the stipulation in its entirety. The status conference currently
4    scheduled for June 25, 2018, at 8:30 a.m. is hereby continued to July 30, 2018, at 8:30 a.m.
5    Pursuant to the agreement of the parties, time is excluded to determine whether the government
6    shall move forward with prosecution and for case resolution purposes. The Court finds that the
7    ends of justice served by taking such action outweigh the best interest of the public and the
8    defendant in a speedy trial. NO FURTHER CONTINUANCES.
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10   IT IS SO ORDERED.
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        Dated:     June 20, 2018                             /s/ Lawrence J. O’Neill _____
12                                                   UNITED STATES CHIEF DISTRICT JUDGE

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      Stipulation and [PROPOSED] Order to Continue    -3-
      Status Conference
